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Fax: 949~480-0062 ' i/ \‘\,l "( m`f"`
Attorney for PlaintiffMohammad A. Salameh ‘ l`“ _ fwle
' .l'

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

MOHAMMAD A. SALAMEH, CASE NUMBER

  

 

 

 

Plaintiil`(s)

 

APPLICATION FOR WRIT OF HABEAS CORPUS
PETER CARLSON et al.,

|:| AD PRosEQUENDUM ill AD TEsTIFICANDuM

 

Def`endant(s).

The undersigned |:| Assistant United States Attorney ljother attorney hereby applies to the Court for the
issuance of a Writ of Habeas Corpus l:l Ad Prosequendum MAd Testif`lcandum for:

Name of` Detainee: F€idil Abd€fgalli
Alias: n/a
BOP/B()()king NO; Reg. NO. 34849-054
Detained by: MWarden R. Wiley
l:l Other
Detained at: USP Florence ADMAX, 588() Hi,qhwav 67 South, Florence, CO 81226
(Specfjj) name and location of detention facil ity)

 

Detainee is requested for the following reasons:

Appearance is necessary on Janual'y 3, 2003 at 9!00 3.111» before the Honorable
Stephen V. Wilson Judge/Magistrate Judge.

Loeation: l:l U.S. District Court Central Distn'et of California
_ _ (Court Address)
|](Other §y simultaneous vldeoconference from USP Florence ADMAX

(Place and Address ofPlace)

l have contacted the institution (if detainee is not in federal custody) and have been advised that said detainee is free and able
to be present during the entire duration of this matter.

I understand that it is my responsibility to provide the U.S. Marshal with four {4) originals of the Writ and any associated fees.

l also understand that it is my responsibility to notify the U.S. Marshal when the presence of said detainee is no longer
required and said detainee can be returned to the original custodian.

  

Q_, gya,,»::Q~se/zr/a/;/

gna e of attorney

Dated: /0,//5_’/07\007

An ORDER ON APPLICA TION FOR WRIT OF HABEAS CORPUS (G-09 ORDER) MUST be submitted along with this Application for
Writ of Habeas Corpus Ad Prosequendum/Ad Testif"lcandum.

 

G-09 (l()/O()) APPL[CATION FOR WRIT OF HABEAS CORPUS AD PROSEQUENDUM l AD TESTIFICANDUM

Ci;Le 2:98-cV-08493-SVW-I\/|LG Document 164 Filed 11/01/07 Page 2 of 2 Page |D #:1155

CERTIFICATE OF SERVICE BY MAIL

I, the undersigned, hereby certify that on this M%y of October 2007, in
the city of Newport Beach, California, l deposited, postage-prepaid and first class,
5 in the United States Mails, the foregoing APPLICATION FOR WRIT OF
6 HABEAS CORPUS AD TESTIFICANDUM, (PROPOSED) ORDER ON
APPLICATION FOR WRIT OF HABEAS CORPUS AD TESTIFICANDUM,

9 and WRIT OF HABEAS CORPUS AD TESTIFICANDUM, addressed to the

l 0 following:

1
1 Katherine M. Hikida

12 Assistant United States Attorney

U.S. Department of Justice

300 North Los Angeles Street, Room 7516
14 Los Angeles, CA 90012

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16 /®aam ?//'/<%£M//L/

en Rosendahl '
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